    Case 6:14-cv-06593-FPG-MWP Document 95 Filed 03/28/19 Page 1 of 5



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
BRIAN T. BARRETT,

                       Plaintiff,
           v.                                           ORDER
                                                        14-cv-6593-FPG-MWP
LIVINGSTON COUNTY, NEW YORK, et al.,

                       Defendants.

     This case is scheduled for a mediation session on April 11,

2019 at 9:30 a.m.      All lead counsel are hereby ORDERED TO APPEAR

before the undersigned at 233 U.S. Courthouse, 100 State Street,

Rochester, New York. Unless excused by the Court in advance of the

conference, parties and their lawyers are required to be present.

     Experience   teaches        that   settlement   conferences        are    often

unproductive unless the parties have exchanged demands and offers

before the conference and made a serious effort to settle the case

on their own.        Accordingly, before arriving at the mediation

session, the parties are to negotiate and make a good faith effort

to settle the case without the involvement of the Court.                    Specific

proposals and counter proposals shall be made.               If settlement is

not achieved before the settlement conference, the parties shall

be prepared to engage in further negotiation at the conference.

     The   purpose    of   the     mediation   session      is   to    facilitate

settlement of this case, if that is appropriate.                      It will be

conducted in such a manner as not to prejudice any party in the

event   settlement    is   not    reached.     To    that   end,      all   matters


                                         1
    Case 6:14-cv-06593-FPG-MWP Document 95 Filed 03/28/19 Page 2 of 5



communicated    to   the   undersigned    in   confidence    will    be    kept

confidential, and will not be disclosed to any other party.

     At least one week prior to the conference, each party shall

submit directly to chambers a confidential settlement report. This

report shall set forth: (1) a brief summary of the facts of the

case; (2) the status of settlement negotiations, including the

most recent settlement demand and/or settlement offer; (3) a brief

summary of the damages sought (including a breakdown of special

damages) and whether there are settlement options, in addition to

or in lieu of money damages, that could be discussed at the

settlement conference.        If expert testimony will be offered at

trial, a brief summary of such expert testimony, including the

identity of the expert should also be contained in the settlement

report.    If    a   particular    document    or   report   is    helpful   in

understanding    the   case   or   damages,    counsel   may      attach   such

document(s) to their submission. Counsel may, but are not required

to, share their submission with opposing counsel.            Any submission

should be submitted directly to the Court and shall NOT be filed

with the Clerk.

     At the mediation session, the parties, by counsel, shall give

a brief presentation outlining the factual and legal highlights of

their case.     Separate, confidential settlement caucuses will then

be held with each party and their lawyers.          Attached is an outline




                                      2
    Case 6:14-cv-06593-FPG-MWP Document 95 Filed 03/28/19 Page 3 of 5



for counsel to review with the parties prior to the settlement

conference to make the best use of the time allotted.

     The requirement of parties’ personal appearance is intended

to increase the efficiency and effectiveness of the settlement

conference, by reducing the time for communication of offers and

expanding the ability to explore options for settlement.

SO ORDERED.




                                 ___/s/ Jonathan W. Feldman____
                                      JONATHAN W. FELDMAN
                                 United States Magistrate Judge


DATED: March 28, 2019
       Rochester, New York




                                   3
     Case 6:14-cv-06593-FPG-MWP Document 95 Filed 03/28/19 Page 4 of 5



                          JONATHAN W. FELDMAN
                    UNITED STATES MAGISTRATE JUDGE

                  SETTLEMENT CONFERENCE PREPARATION

     Experience shows that in negotiations, the party who is best
prepared usually obtains the best result. Settlement conferences
can be held more efficiently if all parties and counsel are
prepared. The following are some areas to consider in order to
aid in the effectiveness of this settlement conference.

A.   FORMAT

     1.    Parties with ultimate settlement authority            must     be
           present in person or available by telephone.

     2.    The court will use a mediation format, and private
           caucusing with each side; the Judge may address your
           client directly.

B.   ISSUES

     1.    What issues (in and outside of this lawsuit) need to be
           resolved? What are the strengths and weaknesses of each
           issue? What is your most persuasive argument?

     2.    What remedies are available           resulting    from       this
           litigation or otherwise?

     3.    Is there any ancillary litigation pending/planned which
           affects case value?

     4.    Do you have enough information to value the case? If
           not, how are you going to get more information before
           the conference?

     5.    Do attorney’s fees or other expenses affect settlement?
           Have you communicated this to the other side?

C.   AUTHORITY

     1.    Are there outstanding liens? Have you verified amounts
           and whether they are negotiable? Do we need to include
           a representative of the lien holder? If so, contact the
           Court immediately.




                                    4
     Case 6:14-cv-06593-FPG-MWP Document 95 Filed 03/28/19 Page 5 of 5



     2.    Is there valid insurance coverage? In what amount? If
           coverage is at issue, or the amount/type affects
           settlement value, have you notified the other side? Do
           we need to include the representative from more than one
           company/carrier? If so, notify the Court immediately.

D.   NEGOTIATIONS

     1.    Where have your last discussions ended?        Are you sure?

     2.    Can you have any discussions before the settlement
           conference to make it proceed more efficiently?

     3.    What value do you want to start with?          Why?   Have you
           discussed this with your client?

     4.    What value do you want to end with?    Why?  Have you
           discussed this with your client?  Is it significantly
           different from values you have placed on this case at
           other times?

     5.    Is there confidential information which affects case
           value? Why can’t/won’t/shouldn’t it be disclosed? How
           can the other side be persuaded to change value if it
           doesn’t have this information?

     6.    What happens if you don’t settle the case at the
           conference?    What is your best alternative to a
           negotiated settlement? Why?

E.   CLOSING

     1.    If settlement is reached, do you want it on the record?

     2.    Have you discussed settlement formats with your client?
           Does the client understand structured settlements,
           annuities, Rule 68 offers to compromise?

     3.    How soon could checks/closing documents be received?

     4.    If settlement is not reached, and further discovery is
           needed, what is your plan for continued settlement
           discussions?   Do you want Court involvement in these
           talks?




                                    5
